

People v Guzman (2025 NY Slip Op 50475(U))



[*1]


People v Guzman (Lenin)


2025 NY Slip Op 50475(U) [85 Misc 3d 133(A)]


Decided on April 11, 2025


Appellate Term, First Department


Published by New York State Law Reporting
Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be
published in the printed Official Reports.



Decided on April 11, 2025
SUPREME COURT, APPELLATE TERM, FIRST
DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570562/19

 The People of the State of New
York, Respondent,
againstLenin Guzman,
Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York,
Bronx County (Beth Beller, J.), rendered July 10, 2019, convicting him, upon his plea of
guilty, of attempted assault in the third degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Beth Beller, J.), rendered July 10, 2019, affirmed.
Application by appellant's counsel to withdraw as counsel is granted (see Anders
v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1976]).
We have reviewed this record and agree with defendant's assigned counsel that there are
no nonfrivolous issues that could be raised on this appeal.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur 
Decision Date: April 11, 2025









